  Case 1:25-cr-00257        Document 75-1       Filed on 05/15/25 in TXSD       Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
       v.                                          §                  Case No. 1:25:cr-257
                                                   §
JAMES LAEL JENSEN                                  §
MAXWELL STERLING JENSEN                            §
a/k/a “Max”                                        §
KELLY ANNE JENSEN                                  §
ZACHARY GOLDEN JENSEN                              §

                                           ORDER


       On this ______ day of _______ 2025, came on to be heard Defendant Maxwell Sterling

Jensen’s Motion to Compel Compliance with Rule 16(a)(1)(E) herein, and the Court, after duly

considering said Motion and the evidence thereon, finds that said Motion should be:

       GRANTED / DENIED

       SIGNED this _______ day of ___________________, 2025.



                                                   ___________________________________
                                                   Ignacio Torteya, III
                                                   United States Magistrate Judge
